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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF DELAWARE

 POWER SYSTEMS TECHNOLOGIES, LTD., )
                                   )
          Plaintiff,               )
                                   )
   v.                              )              C.A. No. 20-016-CFC
                                   )
 JMC PLATFORM FUND I-A, L.P.,      )              PUBLIC VERSION –
                                   )              FILED AUGUST 31,
          Defendant.               )              2021



   PLAINTIFF’S OPENING BRIEF IN SUPPORT OF ITS MOTION FOR
  PARTIAL SUMMARY JUDGMENT REGARDING UNPAID INVOICES
                  (“UNPAID INVOICES CLAIM”)



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 Dated: August 24, 2021
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 Exhibit                       DESCRIPTION                            APPENDIX
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           Declaration of Trevor J. Illes in Support of Plaintiff’s
           Motion for Partial Summary Judgment Regarding
           Unpaid Invoices (“Unpaid Invoices Claim”)

    1.     Agreement for Manufacturing Services, dated July 15,       A001 - A024
           2016, between Power Systems Technologies, Ltd. and
           Unipower, LLC

    2.     Second Amended and Restated Payment Guaranty,              A025 - A031
           dated December 5, 2017

    3.     Unipower Purchase Order 092006, dated May 4, 2018          A032 - A033

    4.     Unipower Purchase Order 092005, dated May 4, 2018          A034 - A035

    5.     Unipower Purchase Order 096181, dated March 28,            A036 - A037
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    6.     PSTL Invoice 850/40000093, dated April 8, 2019             A038 - A040

    7.     PSTL Invoice 850/40000173, dated April 12, 2019            A041 - A043

    8.     PSTL Invoice 850/40000175, dated April 12, 2019            A044 - A046

    9.     PSTL Invoice 850/40000176, dated April 12, 2019            A047 - A049

    10.    PSTL Invoice 850/40000174, dated April 12, 2019            A050 - A052

    11.    PSTL Invoice 850/40000177, dated April 12, 2019            A053 - A055

    12.    PSTL Invoice 850/40000399, dated April 22, 2019            A056 - A058

    13.    June 5, 2019 notice of default sent by PSTL to             A059 - A061
           Unipower’s CFO, William Kirk

    14.    July 11, 2019 demand letter sent by PSTL to JMC, care      A062 - A064
           of Mr. Lawrence Bero


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    15.    Unipower Purchase Order 097411, dated August 7,         A065 - A066
           2019

    16.    August 2019 email chain between representatives of      A067 - A071
           PSTL and Unipower relating to Unipower Purchase
           Order 097411

    17.    PSTL Invoice 850/40002974, dated August 9, 2019         A072 - A074

    18.    September 2019 email chain between representatives of A075 - A078
           PSTL and Unipower relating to Unipower Purchase
           Order 097747

    19.    Unipower Purchase Order 097747, dated September 20, A079 - A089
           2019

    20.    PSTL Invoice 850/40003939, dated September 24,          A090 - A092
           2019

    21.    PSTL Invoice 850/40004003, dated September 25,          A093 - A102
           2019

    22.    2019 email chain (ending on December 11, 2019)        A103 - A124
           between representatives of PSTL and Unipower relating
           to PSTL’s past-due invoices to Unipower

    23.    Excerpted transcript portions from the March 24, 2021   A125 - A133
           deposition of Mr. Larry Bero

    24.    Excerpted transcript portions from the March 30, 2021   A134 - A144
           deposition of Mr. William Kirk

    25.    April 14, 2021 demand letter, sent by PSTL to           A145 - A147
           Unipower’s CFO

    26.    May 24, 2021 demand letter, sent by PSTL to JMC care A148 - A151
           of Mr. Lawrence Bero

    27.    Table of Monthly Interest Owed on Unpaid Invoices       A152 - A160
           prepared by Plaintiff’s Counsel on August 19, 2021




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              NATURE AND STAGE OF THE PROCEEDINGS

      This is an action to recover amounts due under a payment guaranty that

Defendant JMC Platform Fund I-A, L.P. (“JMC”) gave for the benefit of Plaintiff

Power Systems Technologies, Ltd. (“PSTL”). PSTL and JMC’s affiliate, Unipower,

LLC (“Unipower”), were parties to an Agreement for Manufacturing Services (the

“MSA”). JMC guaranteed, pursuant to a Second Amended and Restated Payment

Guaranty dated December 5, 2017 (the “Guaranty”), the payment of any amount that

may become due and payable by Unipower to PSTL pursuant to a bona fide invoice

issued by PSTL under and in accordance with the terms of the MSA. Despite that

unequivocal Guaranty, JMC has refused PSTL’s repeated demands for payment of

amounts owed by Unipower under the MSA.

      PSTL filed this action against JMC on January 7, 2020. (D.I. 1). In total, this

action seeks payment of approximately $4.4 million pursuant to the Guaranty,

comprised of (i) approximately $4.1 million for excess and obsolete inventory that

is Unipower’s responsibility under the MSA; and (ii) $256,860.88 related to unpaid

invoices for goods delivered by PSTL to Unipower, plus interest and fees. JMC

answered PSTL’s complaint on February 28, 2020. (D.I. 6). On October 14, 2020,

PSTL filed an amended complaint (D.I. 29), which JMC answered on October 28,

2020 (D.I. 30). Discovery has closed.




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      This is PSTL’s motion for partial summary judgment against JMC related to

certain invoices that Unipower has not paid, for which there is no reasonable dispute

of fact. Specifically, this motion relates to $232,577.09 of the total of $256,860.88

in unpaid invoices for goods that PSTL delivered to Unipower.1 In addition to the

invoiced amounts, PSTL seeks payment of interest, costs, and expenses (including

reasonable attorneys’ fees) pursuant to the terms of the parties’ agreements.

            INTRODUCTION AND SUMMARY OF ARGUMENT

      The basis for this Motion is simple. Pursuant to the MSA, PSTL agreed to

procure necessary parts and manufacture products for its customer, Unipower. In

2019, PSTL invoiced Unipower for $256,860.88 worth of products and parts

manufactured and procured, respectively, at Unipower’s request, for which

Unipower has refused to pay. Unipower does not dispute PSTL’s invoices relating

to $232,577.09 of this unpaid balance, and Unipower’s accounting department has

independently validated and agreed with all of PSTL’s invoices subject to this

Motion. Nevertheless, Unipower’s balance remains outstanding.

      JMC guaranteed Unipower’s obligations to PSTL under the Guaranty. JMC

admitted at the deposition of its corporate designee that JMC was obligated to, and




1
      Contemporaneously herewith, PSTL is filing a separate motion for summary
      judgment related to a portion of the approximately $4.1 million of excess and
      obsolete inventory for which there is no factual dispute.


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would, pay under the Guaranty any amounts that Unipower owed to PSTL pursuant

to a bona fide invoice issued by PSTL:

      Q: But if Unipower admits that they owe it, but doesn’t pay it, would
      JMC honor its obligations under the guarantee and pay it?

      A: I don’t know of any reason why Unipower wouldn’t pay it, but if
      it’s a bona fide invoice and for some reason, Unipower didn’t pay it,
      that’s what the guarantee is there for.

      Q: So JMC would honor these obligations and pay for the $256,000 if
      that’s true?

      A: If it’s bona fide and Unipower recognizes that it is bona fide and for
      some reason Unipower doesn’t pay it, yes.

SOF ¶ 43; see A129-30 (Bero Tr. 196:19-197:9 (objections omitted)).2

      There are no reasonably disputable questions of fact or law, and summary

judgment in PSTL’s favor is appropriate. PSTL is entitled to partial summary

judgment on its breach of contract claim against JMC for the following reasons:

      (1)   In 2019, Unipower ordered certain products and parts from PSTL at a
            price of $232,577.09, for which PSTL issued corresponding invoices in
            the amount of $232,577.09 (SOF ¶¶ 5-29);

      (2)   Unipower has failed to pay PSTL’s invoices in the amount of
            $232,577.09 (E.g., id. ¶ 35);

      (3)   Unipower’s accounting department validated and agreed with all of the
            invoices comprising the $232,577.09 in unpaid invoices at issue (id. ¶
            30);


2
      Citations to “SOF” refer to PSTL’s Concise Statement of Facts submitted with
      this Motion. Citations to “A___” refer to PSTL’s Appendix submitted with
      its Concise Statement of Facts.


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       (4)   JMC, which owns an interest in Unipower, signed and gave the
             Guaranty to PSTL (id. ¶ 36);

       (5)   PSTL has issued default notices and demands to Unipower and JMC
             under the MSA and Guaranty, respectively (id. ¶¶ 32-34, 41-42);

       (6)   Despite these default notices and demands, JMC has refused to pay
             Unipower’s outstanding balance (id. ¶ 44);

       (7)   As a matter of law and the parties’ agreements, PSTL is entitled to
             recover $232,577.09 in damages from JMC, along with interest and
             reasonable costs and fees (including attorneys’ fees).

                     STATEMENT OF MATERIAL FACTS

 I.    The Agreement for Manufacturing Services.

       PSTL and Unipower were parties to the MSA, pursuant to which PSTL agreed

 to procure parts and manufacture products that Unipower could resell or license to

 its customers. SOF ¶¶ 1-2. Under the MSA, Unipower issued purchase orders

 (“POs”) to PSTL for various parts and products. Id. ¶¶ 5, 10, 13, 22, 27. The MSA

 defines “Purchase Order” as a document issued “for the purpose of ordering Products

 or Parts to be manufactured and/or procured pursuant to” the MSA. Id. ¶ 3.

       In response to Unipower’s POs, PSTL would invoice Unipower. See SOF ¶

 4. The MSA requires Unipower to pay PSTL’s invoices within 60 days. Id. In the

 event Unipower failed to comply with these terms, Unipower would be subject to

 1.5% monthly interest for all outstanding payments owed to PSTL. Id.




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 II.    The Unpaid Invoices.

        Unipower issued PO 092006 dated May 4, 2018, to order from PSTL, among

 other things, 1,483 units of item FMP20.24S101G. SOF ¶ 5. On April 8, 2019,

 PSTL issued Invoice #850/40000093 in the amount of $39,462.24 for 304 units of

 FMP20.24S101G related to PO 092006. Id. ¶ 6. While Unipower paid a portion of

 this invoice on November 29, 2019, a balance of $1,109.67 remains outstanding. Id.

 ¶ 7.

        Between April 2019 and September 2019, PSTL issued, as relevant here, nine

 more invoices to Unipower for various quantities of products and parts ordered

 pursuant to Unipower’s POs. Specifically, PSTL issued

           Invoice #850/40000174 dated April 12, 2019 in the amount of $33,231.36

            (SOF ¶ 8);

           Invoice #850/40000177 dated April 12, 2019 in the amount of $21,780.00

            (id. ¶ 11);

           Invoice #850/40000175 dated April 12, 2019 in the amount of $1,998.00

            (id. ¶ 14);

           Invoice #850/40000176 dated April 12, 2019 in the amount of $24,502.50

            (id. ¶ 16);

           Invoice #850/40000173 dated April 12, 2019 in the amount of $34,789.08

            (id. ¶ 18);



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          Invoice #850/40000399 dated April 22, 2019 in the amount of $2,596.20

           (id. ¶ 20);

          Invoice #850/40002974 dated August 9, 2019 in the amount of $38,035.63

           (id. ¶ 23);

          Invoice #850/40003939 dated September 24, 2019 in the amount of

           $325.00 (id. ¶ 25); and

          Invoice #850/40004003 dated September 25, 2019 in the amount of

           $74,209.65 (id. ¶ 28).

 None of the foregoing nine invoices have been paid. Id. ¶¶ 9, 12, 15, 17, 19, 21, 24,

 26, 29.

       Together, the unpaid principal balances of these ten invoices (the “Unpaid

 Invoices”) total $232,577.09. SOF ¶ 35.

       Unipower does not dispute the Unpaid Invoices. SOF ¶¶ 30-31. Mr. William

 Kirk, Unipower’s CFO when the Unpaid Invoices were issued (and Unipower’s

 designated corporate witness in this litigation), testified that Unipower’s

 “accounting department validated and agreed with” each of the invoices listed above,

 and that he could not “think of a reason why [Unipower’s outstanding balance to

 PSTL] wasn’t paid.” Id. ¶¶ 30-31; see A137-39 (Kirk Tr. 66:24-67:18; 68:20-24).




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 III.   The Second Amended and Restated Payment Guaranty by JMC.

        Pursuant to the Guaranty, JMC “irrevocably and unconditionally” guaranteed

 to PSTL payment of the “Guaranteed Obligations as and when the same shall be due

 and payable,” and “irrevocably and unconditionally covenant[ed] and agree[d] that

 it is liable for the Guaranteed Obligations” as a “primary obligor.” SOF ¶ 37. The

 Guaranty defines “Guaranteed Obligations” as

        any amount or amounts that may become due and payable by Unipower
        … to PSTL pursuant to a bona fide invoice issued by PSTL to Unipower
        under, and in accordance with the terms and conditions of, the [MSA].

 Id. ¶ 38.

        Section 1.4 of the Guaranty provides that upon Unipower’s failure to pay any

 Guaranteed Obligation within 30 days of a notice of default, JMC “shall,

 immediately upon demand by PSTL, pay the amount due on the Guaranteed

 Obligations to PSTL.” SOF ¶ 39 (emphasis added).

        The Guaranty also provides that should JMC fail to timely perform any

 provisions of the Guaranty, JMC shall “reimburse PSTL for any and all reasonable

 and documented costs and expenses (including court costs and reasonable attorneys’

 fees and expenses) incurred by PSTL” in enforcing or preserving PSTL’s rights

 under the Guaranty. SOF ¶ 40.

        As noted above, Mr. Lawrence Bero, JMC’s Founder and Partner, and

 designated corporate witness in this action, acknowledged that JMC is liable under



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 the Guaranty for any bona fide invoices issued by PSTL to Unipower in accordance

 with the MSA that Unipower fails to pay. SOF ¶ 43; see A129-30 (Bero Tr. 196:23-

 197:2) (“[I]f it’s a bona fide invoice and for some reason, Unipower didn’t pay it,

 that’s what the guarantee is there for.”).

 IV.   PSTL’s Notices and Demands, and JMC’s Failure to Pay.

       PSTL issued default notices to Unipower on at least three occasions: first on

 June 5, 2019; again on December 11, 2019; and finally on April 14, 2021. SOF ¶¶

 32-34. Despite these default notices, Unipower has not paid PSTL the outstanding

 balance relating to the Unpaid Invoices. Id. ¶ 35.

       On July 11, 2019, more than 30 days after issuing the first default notice to

 Unipower, PSTL sent a payment demand to JMC based on Unipower’s then-

 outstanding past-due balance of $941,083.37. SOF ¶ 41. On May 24, 2021, more

 than 30 days after issuing the second and third default notices to Unipower, PSTL

 sent another payment demand to JMC based on Unipower’s failure to satisfy the

 Unpaid Invoices. Id. ¶ 42. Despite these payment demands, JMC has not made any

 payment to PSTL under the Guaranty. Id. ¶ 44.

                                     ARGUMENT

 I.    The Summary Judgment Standard.

       Summary judgment is appropriate where the movant shows that “there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.” Fed. R. Civ. P. 56(a). The movant bears the initial burden to

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 demonstrate “the absence of a genuine issue of material fact,” after which the burden

 shifts to the non-moving party to present “specific facts showing that there is a

 genuine issue for trial.” El v. Capiak, 2019 WL 4572854, at *4 (D. Del. Sept. 20,

 2019).

       To avoid summary judgment, the non-moving party must “do more than

 simply show that there is some metaphysical doubt as to the material facts.” Id.

 (citing Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986)).

 A genuine factual dispute exists only where the evidence would allow a reasonable

 jury to return a verdict for the non-moving party. Anderson v. Liberty Lobby, Inc.,

 477 U.S. 242, 248 (1986). A “mere scintilla of evidence” in support of the non-

 moving party “is insufficient to defeat a motion for summary judgment; there must

 be evidence on which the jury could reasonably find for the nonmoving party.”

 Jones v. Pierce, 2019 WL 6309854, at *3 (D. Del. Nov. 25, 2019) (citing Anderson

 v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986)) (emphasis added).

 II.   Unipower Is in Default under the MSA.

       The record shows that the Unpaid Invoices are bona fide invoices issued by

 PSTL to Unipower in accordance with the MSA for which Unipower is responsible,

 and that Unipower has not paid them. PSTL issued the Unpaid Invoices based on

 products and parts it provided to Unipower at Unipower’s request, pursuant to POs

 issued by Unipower. Unipower issued the POs for this exact purpose. See SOF ¶ 3



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 (POs are “issued by [Unipower] for the purpose of ordering Products or Parts to be

 manufactured and/or procured pursuant to [the MSA]” (emphasis added)).

       Unipower’s own accounting department independently reviewed and

 validated the Unpaid Invoices, as its former CFO, Mr. Kirk, confirmed. SOF ¶ 30.

 Mr. Kirk also testified that Unipower does not dispute the Unpaid Invoices and he

 could not think of any reason why Unipower did not pay them. Id. ¶ 31.

       Nor is there any dispute that Unipower has failed to pay the Unpaid Invoices,

 or that the applicable 60-day payment term under the MSA has long since expired.

 SOF ¶¶ 4, 7, 9, 12, 15, 17, 19, 21, 24, 26, 29, 35.

       Consequently, Unipower is in default under the MSA in the principal amount

 of $232,577.09, a balance established by the Unpaid Invoices. Unipower has failed

 to remedy this default despite PSTL’s three separate notices. SOF ¶¶ 32-34.3




 3
       For the avoidance of doubt, PSTL contends that Unipower is in default under
       the MSA for amounts beyond the amount established by the Unpaid Invoices.
       There is one additional unpaid invoice for goods delivered, but Mr. Kirk
       testified that it had not been validated by Unipower’s accounting department,
       and so PSTL omitted that invoice from this Motion out of an abundance of
       caution due to a potential dispute of fact regarding that invoice (although Mr.
       Kirk identified no actual dispute with the invoice). A139-40 (Kirk Tr. 68:20-
       69:7). Additionally, there is the excess and obsolete inventory obligation, part
       of which is addressed in PSTL’s contemporaneously filed motion for partial
       summary judgment on that claim.

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 III.   JMC Is Liable for the Unpaid Invoices Under the Guaranty.

        The Guaranty is an unambiguous contract, and the Court should construe it as

 a matter of law. See JFE Steel Corp. v. ICI Americas, Inc., 797 F. Supp. 2d 452, 469

 (D. Del. 2011). JMC’s obligations under the Guaranty are explicit and unequivocal:

        [JMC] hereby irrevocably and unconditionally guarantees to PSTL the
        payment of the Guaranteed Obligations as and when the same shall be
        due and payable. [JMC] herby irrevocably and unconditionally
        covenants and agrees that it is liable for the Guaranteed Obligations
        as a primary obligor.

 SOF ¶ 37; A026 (§ 1.1) (emphasis added).

        The Unpaid Invoices are “Guaranteed Obligations” because they are bona fide

 invoices issued by PSTL, they were issued by PSTL under and in accordance with

 the terms and conditions of the MSA, and they are due and payable by Unipower.

 SOF ¶ 38; see A026 (§ 1.2). Unipower admits as much. SOF ¶¶ 30-31.

        Neither the MSA nor the Guaranty defines “bona fide,” so the Court should

 construe that term in accordance with its ordinary dictionary meaning. See Lorillard

 Tobacco Co. v. Am. Legacy Found., 903 A.2d 728, 738 (Del. 2006) (“When a term’s

 definition is not altered or has no ‘gloss’ in the relevant industry it should be

 construed in accordance with its ordinary dictionary meaning.” (internal citation

 omitted)).4 Black’s Law Dictionary defines “bona fide” to mean “[m]ade in good

 faith; without fraud or deceit” or “[s]incere; genuine.” Black’s Law Dictionary


 4
        The Guaranty contains a Delaware choice-of-law provision. See A029 (§ 4.4).


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 (11th ed. 2019). Merriam Webster defines “bona fide” to mean “neither specious

 nor counterfeit,” “genuine,” “made with earnest intent,” “sincere,” and something

 made “in good faith without fraud or deceit.”             See https://www.merriam-

 webster.com/dictionary/bona%20fide?src=search-dict-hed (last visited on August

 18, 2021). There is no evidence in the record whatsoever to suggest that the Unpaid

 Invoices are fraudulent or counterfeit, or that PSTL did not issue them in good faith.

       In fact, all the evidence is that the Unpaid Invoices are bona fide. PSTL issued

 the Unpaid Invoices pursuant to POs issued by Unipower. SOF ¶¶ 6, 8, 11, 14, 16,

 18, 20, 23, 28. Unipower independently validated and agreed with the Unpaid

 Invoices. Id. ¶ 30. Mr. Kirk, Unipower’s CFO when PSTL issued the Unpaid

 Invoices, testified that Unipower does not dispute the Unpaid Invoices and was

 unable to explain why Unipower had not paid them. Id. ¶ 31. These undisputed

 facts establish that the Unpaid Invoices are bona fide.

       It is equally clear that PSTL issued the Unpaid Invoices in accordance with

 the MSA’s terms and conditions, at set forth above. Again, the Unpaid Invoices

 relate to products and parts that Unipower ordered from PSTL pursuant to POs.

 Unipower issued these POs for the express purpose of ordering parts and products

 from PSTL. SOF ¶ 3; A003 (§ 2.11). After receiving the POs, PSTL provided the

 specified products or parts, as Unipower concedes. See SOF ¶¶ 30-31. PSTL then

 issued the Unpaid Invoices, matching Unipower’s POs, pursuant to the MSA’s



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 payment terms. SOF ¶ 4; see A005 (§ 4.5). There is no basis to contend that the

 Unpaid Invoices were not issued under or in accordance with the MSA’s terms and

 conditions, let alone evidence supporting that contention.

 IV.   JMC’s Failure to Pay the Unpaid Invoices Is a Breach of the Guaranty.

       Breach of contract under Delaware law has three elements: “1) a contractual

 obligation; 2) a breach of that obligation by the defendant; and 3) a resulting damage

 to the plaintiff.” Humanigen, Inc. v. Savant Neglected Diseases, LLC, 238 A.3d 194,

 202 (Del. Super. Ct. 2020). Summary judgment is appropriate where, as here, a

 plaintiff establishes that there are no fact issues as to any of these elements and that,

 as a result, it is entitled to judgment as a matter of law. See Jordan v. Mirra, 2019

 WL 7037480, at *6 (D. Del. Dec. 20, 2019) (granting summary judgment on breach

 of contract claim where all three elements were established).

       First, the Guaranty is a contractual obligation of JMC to PSTL. Payment

 guarantees, like the Guaranty, are valid and enforceable under Delaware law. See,

 e.g., Xcoal Energy & Res. v. Bluestone Energy Sales Corp., 2021 WL 1170374, at

 *28 (D. Del. Mar. 29, 2021).        The Guaranty unambiguously (1) makes JMC

 responsible for Guaranteed Obligations and (2) requires JMC to pay any amount due

 on Guaranteed Obligations “immediately upon demand by PSTL.”5 SOF ¶¶ 36-39.

 JMC admits that the Guaranty renders JMC liable for any bona fide invoices issued


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       PSTL provided 30-day notices of default to Unipower. SOF ¶¶ 32-34.


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 under the MSA that Unipower fails to pay. Id. ¶ 43. And as explained above, the

 Unpaid Invoices are indisputably bona fide and were issued in accordance with the

 MSA. Consequently, per its own admission, JMC is responsible for the Unpaid

 Invoices pursuant to the Guaranty.

       Second, JMC’s breach of the Guaranty is straightforward. More than 30 days

 after providing Unipower with notice of its defaults and such defaults going uncured

 by Unipower, PSTL notified JMC of the Unpaid Invoices and demanded immediate

 payment. SOF ¶¶ 32-35, 39, 41-42. These demands triggered JMC’s “irrevocabl[e]

 and unconditional[]” covenant to “immediately…pay the amount due on the

 Guaranteed Obligations [e.g., the Unpaid Invoices] to PSTL….” A026 (§§ 1.1, 1.4).

 Yet, by its own admission, months after PSTL’s most recent notice to JMC (and

 more than two years after the initial notice), JMC still has not “made any payments

 under the [Guaranty]” to PSTL for “Unipower’s obligations.” SOF ¶ 44; A132-33

 (Bero Tr. 255:22-256:1).      This failure is an unequivocal breach of JMC’s

 responsibility to immediately pay Unipower’s outstanding balance.         See S.C.

 Johnson & Son, Inc. v. Dowbrands, Inc., 167 F. Supp. 2d 657, 669 (D. Del. 2001)

 (granting summary judgment to plaintiff based on guarantor’s failure to pay

 attorney’s fees and expenses pursuant to guarantee agreement). Accordingly, the

 second element of PSTL’s breach claim is satisfied.




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       Finally, the damages PSTL has suffered as a result of JMC’s breach are clearly

 evidenced by the record. Unipower’s POs specified the unit price of the products

 and parts it asked PSTL to provide, and PSTL’s invoices matched that agreed-upon

 price. Cf., e.g., A035 with A048 (both PO and corresponding invoice listing unit

 price of $453.75 for item MS0023G*900024). Thus, the Unpaid Invoices, totaling

 $232,577.09 (SOF ¶ 35), based on the parties’ agreed-upon pricing structure, are the

 measure of PSTL’s damages flowing from JMC’s breach. See CIGNEX Datamatics,

 Inc. v. Lam Rsch. Corp., 2020 WL 2063924, at *15 (D. Del. Apr. 29, 2020)

 (awarding damages equal to amount of plaintiff’s unpaid invoices for defendant’s

 breach of software-services agreement).

       Further, the balance of the Unpaid Invoices is subject to 1.5% monthly

 interest. SOF ¶ 4; see A005 (§ 4.5) (“If [Unipower] fails to pay amounts due in

 accordance with the foregoing, [Unipower] shall pay one and one-half percent

 (1.5%) monthly interest on all late payments.”). Through July 2021, the interest due

 on the Unpaid Invoices is $93,930.51, as set forth on the table attached as Exhibit

 27 to PSTL’s Concise Statement of Facts. See A153-60.

       PSTL would not have suffered these damages but for Unipower’s failure to

 timely pay the Unpaid Invoices and JMC’s refusal to honor its independent

 obligations under the Guaranty.




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       As a result of JMC’s breach, PSTL is also entitled under the plain terms of the

 Guaranty to recover its reasonable and documented costs and expenses, including

 court costs and reasonable attorney’s fees, incurred in enforcing the Guaranty. SOF

 ¶ 40; A027 (§ 1.6).



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                                  CONCLUSION

       For the foregoing reasons, PSTL respectfully requests that this Court award

 judgment in its favor, and against JMC, in the amount of $232,577.09 for the unpaid

 principal balance of the Unpaid Invoices, plus interest at a rate of 1.5% per month

 on the Unpaid Invoices totaling $93,930.51 through July 2021 and continuing to

 accrue thereafter, plus fees (including reasonable attorneys’ fees) and costs, along

 with any other relief the Court deems necessary and proper.



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  Dated: August 24, 2021




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                       CERTIFICATE OF COMPLIANCE

       Pursuant to the Court’s November 6, 2019 Standing Order, I hereby confirm

 that this brief complies with the type and number limitations set forth in the Standing

 Order. I certify that this document contains 3,603 words, which were counted using

 the word count feature of Microsoft Word, in 14-pt Times New Roman font. The

 word count does not include the cover page, tables, or the counsel block.



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                          CERTIFICATE OF SERVICE

       I, William M. Alleman, Jr., hereby certify that on August 31, 2021, a true and

 correct copy of the foregoing Plaintiff’s Opening Brief in Support of its Motion for

 Partial Summary Judgment Regarding Unpaid Invoices (PUBLIC VERSION)

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